        Case 1:21-cv-01287-CAP-JKL Document 1 Filed 03/30/21 Page 1 of 9




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 REETA CASON,                                        Civil Action No.

      Plaintiff,

 v.                                                  JURY TRIAL DEMANDED

 MARRIOTT INTERNATIONAL, INC.,

      Defendant.


                          COMPLAINT FOR DAMAGES

        COMES NOW Reeta Cason (“Plaintiff” or “Mrs. Cason”), by and through her

undersigned counsel, and files this Complaint for Damages, showing the Court as

follows:

                          JURISDICTION AND VENUE

                                          1.

        Plaintiff invokes the jurisdiction of this court pursuant to the Age

Discrimination in Employment Act of 1967, as amended (“ADEA”).

                                          2.

        This Court has jurisdiction of this matter pursuant to 28 U.S.C. §§ 1331 and

42 U.S.C. § 2000e-5(f).



                                          1
       Case 1:21-cv-01287-CAP-JKL Document 1 Filed 03/30/21 Page 2 of 9




                                          3.

      Defendant Marriott International, Inc. (“Defendant”) does business in this

judicial district. Additionally, the unlawful employment practices committed by

Defendant that form the basis of this lawsuit were committed within this district.

                       ADMINISTRATIVE PROCEDURES

                                          4.

      Plaintiff has fulfilled all conditions necessary to proceed with this cause of

action under the ADEA. Plaintiff filed a charge of discrimination with the EEOC

on December 3, 2020.

                                          5.

      On March 16, 2021, Plaintiff requested that the EEOC issue the related Notice

of Right to Sue with respect to her Charge of Discrimination filed against Defendant.

                                     PARTIES

                                          6.

      Plaintiff is a citizen of the United States of America and is subject to the

jurisdiction of this Court.




                                         2
       Case 1:21-cv-01287-CAP-JKL Document 1 Filed 03/30/21 Page 3 of 9




                                           7.

       Defendant is a foreign profit corporation qualified and licensed to do business

in Georgia, and at all times material hereto has conducted business within this

District.

                                           8.

       At all times relevant to this Complaint, Plaintiff was employed by and was an

“employee” of Defendant, as defined under the ADEA.

                                           9.

       Defendant is now and, at all times relevant hereto, has been a foreign limited

liability company engaged in an industry affecting commerce. During all times

relevant hereto, Defendant has employed twenty (20) or more employees for the

requisite duration under the ADEA.

                                           10.

       Defendant may be served with process by delivering a copy of the summons

and complaint to its registered agent, Registered Agent, CT Corporation System,

located at 289 S. Culver Street, Lawrenceville, GA 30046.




                                          3
      Case 1:21-cv-01287-CAP-JKL Document 1 Filed 03/30/21 Page 4 of 9




                          FACTUAL ALLEGATIONS

                                         11.

      Defendant hired Mrs. Cason in November 1998 as a Bartender at its Atlanta

Evergreeen Marriott Conference Resort in Stone Mountain, GA.

                                         12.

      In July 2019, Defendant promoted Mrs. Cason to a Supervisor position in

Food & Beverage.

                                         13.

      On October 12, 2020, Mrs. Cason received a call from her Manager, Ozgur

Yurtseven, notifying her that her position had been eliminated.

                                         14.

      Mrs. Cason asked Mr. Yurtseven how he was going to run the department on

his own, to which he responded that Defendant was going to hire an Assistant

Manager.

                                         15.

      Mr. Yurtseven stated that Defendant had already hired someone.

                                         16.

      Mr. Yurtseven claimed that the General Manager wanted someone with

“young energy” in the position.


                                         4
       Case 1:21-cv-01287-CAP-JKL Document 1 Filed 03/30/21 Page 5 of 9




                                           17.

      At the time, Mrs. Cason was sixty (60) years old.

                                           18.

      The employee that was hired as Assistant Manager, Savanna (Last Name Not

Known), was in her mid-twenties.

                                           19.

      Savanna had substantially less experience in restaurants and management

compared to Mrs. Cason.

                                           20.

      Savanna told Mrs. Cason while Mrs. Cason was training her, Defendant had

contacted her to tell her about the Assisatant Manager position, and that it was “hers

if she wanted it.”

                                           21.

      Defendant terminated Mrs. Cason effective October 23, 2020.

                                           22.

      While Defendant claimed that Mrs. Cason’s position had been eliminated, the

job duties of the Assistant Manager were substantially similar to those that Mrs.

Cason had been performing as the Supervisor for Food & Beverage.




                                          5
       Case 1:21-cv-01287-CAP-JKL Document 1 Filed 03/30/21 Page 6 of 9




                                             23.

      Mrs. Cason was never given the opportunity to apply for the Assistant

Manager position.

                                             24.

      Additionally, during the same time period, at least two other long-term

employees over the age of 60 were terminated by Defendant for an alleged “lack of

work.”

                                             25.

      Further, during this same time period, younger employees were given the

opportunity to take other positions if their positions were eliminated

                                             26.

      Defendant’s proffered reasons for terminating Plaintiff’s employment are a

pretext designed to hide Defendant’s discriminatory motive.

                                             27.

      Defendant treated other employees outside of Mrs. Cason’s protected class,

i.e. employees younger than 40, more favorably.

                                             28.

      Mrs. Cason was on the verge of qualifying for her 25Year Card, which would

have given her travel privileges for life.


                                             6
      Case 1:21-cv-01287-CAP-JKL Document 1 Filed 03/30/21 Page 7 of 9




                                         29.

   When terminated, Mrs. Cason was offered a couple weeks’ severance in

exchange for agreeing not to sue.

                                         30.

   Mrs. Cason declined this offer.

                                         31.

      While Defendant claimed that terminations were resulting from reductions in

business due to COVID-19, the company remained profitable at Plaintiff’s location.


        COUNT I: VIOLATION OF THE AGE DISCRIMINATION
               IN EMPLOYMENT ACT, AS AMENDED

                                         32.

      Plaintiff reincorporates by reference paragraphs 11-31.

                                         33.

      Defendant’s actions in subjecting Plaintiff to different terms and conditions

of employment constitutes unlawful discrimination on the basis of her age in

violation of ADEA, as amended.

                                         34.

      Defendant has willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s discrimination against Plaintiff was undertaken in bad faith.


                                         7
      Case 1:21-cv-01287-CAP-JKL Document 1 Filed 03/30/21 Page 8 of 9




                                           35.

      The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity and has otherwise adversely affected her status as

an employee because of her age.

                                           36.

      As a direct and proximate result of Defendant’s violation of the ADEA,

Plaintiff has lost wages and benefits.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff pray for judgment as follows:

      (a)          General damages for mental and emotional suffering caused by

                   Defendant’s misconduct;

      (b)          Reasonable attorney’s fees and expenses of litigation;

      (c)          Trial by jury as to all issues;

      (d)          Prejudgment interest at the rate allowed by law;

      (e)          Declaratory relief to the effect that Defendant has violated

                   Plaintiff’s statutory rights;

      (f)          Injunctive relief of reinstatement, or front pay in lieu thereof, and

                   prohibiting Defendant from further unlawful conduct of the type

                   described herein; and


                                           8
      Case 1:21-cv-01287-CAP-JKL Document 1 Filed 03/30/21 Page 9 of 9




      (g)          All other relief to which she may be entitled.

      Respectfully submitted the 30th day of March, 2021.

                                         BARRETT & FARAHANY

                                         s/ Adian R. Miller
                                         Adian R. Miller
                                         Georgia Bar No. 794647

                                         Attorney for Reeta Cason

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                                           9
